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 8                   IN THE UNITED STATES DISTRICT COURT
 9               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                 Criminal Case No. 17CR1080-WQH
12                            Plaintiff,        ORDER
13                 v.
14    PHYLLIS MARLENA SCHAFFTER,

15                            Defendant.

16
           No objections having been filed, IT IS ORDERED that the Findings and
17
     Recommendation of the Magistrate Judge are adopted and this Court accepts
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     Defendant’s PLEA OF GUILTY to count 1 of the information.
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     DATED: June 28, 2017
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21                                         WILLIAM Q. HAYES
                                           United States District Judge
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